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' men BY liab
IN THE UNITED STATES DISTRICT COURT °c‘

FOR THE wEsTERN DISTRICT oF TENNESSEE 05
wESTERN DIvIsIoN Jul` 22 PH h 59

 

 

 

 

 

 

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UNITED sTATES oF AMERICA ) am W'ngm
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Plaintiff, )
) f-
v. ) C'riminal No. L- Z@'ZZ §Ml
)
17 /\/[ )
f S[r’b-;f K ///Y ) (90-Day Continuance)
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Defendant(s). )

 

CONSEN'I' ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the August,
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, October 28, 2005, with trial to take place
on the November, 2005, rotation calendar With the time excluded
under the Speedy Trial Act through November 18, 2005. Agreed in

open court at report date this 22nd day of July, 2005.

This document entered on the docket sheet in compilance " §;
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with me 55 and/or 32(1:>) FHch on ' '

Case 2:05-cr-20213-.]PI\/| Document 24 Filed 07/22/05 Page 2 of 3 Page|D 35

So oRDERED this 22“cl day of July, 2005.

€ WQQO_

JO PHIPPS MCCALLA

§ TED STATES DISTRICT JUDGE

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Assistant United\état s Attorney

 

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Counsel for Defendant(s)

   

UNITED sTATE DISTRIC COUR - WTERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:05-CR-202]3 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

 

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chorable J on McCalla
US DISTRICT COURT

